Case 1:24-cv-00987-RGA          Document 20          Filed 12/06/24   Page 1 of 3 PageID #: 121



                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

KARISSA VACKER, MARK BOYETT,         )
BRIAN LARSON, IRON TOWER PRESS, INC. )
and VAUGHN HEPPNER,                  )
                                     )
                Plaintiffs,          )
                                     )
          v.                         )                    C.A. No. 24-987 (RGA)
                                     )
ELEVEN LABS INC.,                    )
                                     )
                Defendant.           )

             DECLARATION OF DORI ANN HANSWIRTH IN SUPPORT OF
              DEFENDANT ELEVEN LABS INC.’S MOTION TO DISMISS
                        AND FOR ATTORNEYS’ FEES

       I, Dori Ann Hanswirth, declare as follows:

       1.      I am an attorney licensed to practice law in the State of New York, admitted pro

hac vice in the above-captioned matter, and a partner in the law firm of Arnold & Porter Kaye

Scholer LLP. I submit this declaration in support of Defendant Eleven Labs Inc.’s Motion to

Dismiss and for Attorneys’ Fees, in this action. I am aware of the facts stated herein of my own

knowledge and if called to testify, I could and would competently so testify.

       2.      Attached hereto as Exhibit A is a true and correct copy of an archived version of

Defendant Eleven Labs Inc.’s landing page dated March 5, 2023, which is incorporated by

reference in the Complaint (D.I. 1 ¶¶ 35 n.4, 36).

       3.      Attached hereto as Exhibit B is a true and correct copy of the November 26, 2024

Opinion and Order in Bobulinkski v. Tarlov, No. 24-CV-2349(JPO) (S.D.N.Y. Nov. 26, 2024).
Case 1:24-cv-00987-RGA         Document 20          Filed 12/06/24   Page 2 of 3 PageID #: 122




       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct to the best of my knowledge, information, and belief.




       Executed on December 6, 2024 at New York, New York.


                                                 /s/ Dori Ann Hanswirth
                                                 Dori Ann Hanswirth




                                                2
Case 1:24-cv-00987-RGA         Document 20        Filed 12/06/24     Page 3 of 3 PageID #: 123




                                CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2024, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on December

6, 2024, upon the following in the manner indicated:

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                                                    /s/ Brian P. Egan
                                                    ____________________________________
                                                    Brian P. Egan (#6227)
